
672 S.E.2d 681 (2009)
George O. FREEMAN
v.
Butch JACKSON; Superintendent of Nash Correctional Facility of N.C. Dept. of Corr.
No. 475P07-3.
Supreme Court of North Carolina.
January 29, 2009.
George O. Freeman, Pro Se.
Catherine F. Jordan, Assistant Attorney General, for State of NC.

ORDER
Upon consideration of the application filed by Plaintiff on the 1st day of December 2008 in this matter for Writ of Habeas Corpus, the following order was entered and is hereby certified to the Superior Court, Mecklenburg County:
"Denied by order of the Court in conference, this the 29th day of January 2009."
